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 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                  Case No. 2:08-CR-00164-KJD-GWF

12   v.                                                 ORDER

13   DEONTE REED,

14          Defendant.

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16          Presently before the Court is Defendant’s Motion for Abeyance (#360). Defendant Reed has

17   simultaneously filed a motion to vacate pursuant to 28 U.S.C, § 2255. However, as this is a second or

18   successive petition under §2255, Defendant has applied to the Ninth Circuit of Appeals for

19   permission to file it. Defendant seeks to hold the petition in abeyance until the Ninth Circuit grants

20   his application. Good cause being found, the Court grants Defendant’s Motion for Abeyance.

21   IT IS SO ORDERED.

22          DATED this 4th day of October 2016.

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                                                   Kent J. Dawson
26                                                 United States District Judge
